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                       UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA

            In re:   Marcus A. Nordberg                                Case No.:     14-71096-PBR
                     Angela R. Nordberg
                     Debtor(s)


                                         ORDER CONFIRMING PLAN

         The Chapter 13 Plan filed by the Debtor(s) on August 8, 2014, having been transmitted to all
creditors; and it having been determined that the plan meets each of the requirements of 11 U.S.C. § 1325(a);

            It is ORDERED that:

                     (1) the Plan as filed or modified is CONFIRMED.

                     (2) Upon entry of this order, all property of the estate shall revest in the Debtor(s).
                        Notwithstanding such revesting, the Debtor(s) shall not encumber, refinance, sell or
                        otherwise convey real property without first obtaining an order of approval from
                        this court.

                     (3) All funds received by the Chapter 13 Trustee on or before the date an order of
                        conversion or dismissal shall be disbursed to creditors, unless such disbursement
                        would be de minimis, in which case the funds may be disbursed to the Debtor(s) or
                        paid into the Treasury registry fund account of the Court, at the discretion of the
                        Trustee. All funds received by the Chapter 13 Trustee after that date of the entry of
                        the order of dismissal or conversion shall be refunded to the Debtor(s) at their
                        address of record.

                     (4) Other provisions:
                        a.) The Trustee's motion to dismiss is withdrawn.

                         b.) Notwithstanding paragraph two (2) above, the Debtor(s)' interest in property defined by
                              11 U.S.C. § 1306(a)(1), which includes future interests and inchoate interests, revests
                              in the Debtor(s) only to the extent that the Debtor(s) could legally claim such
                              interest(s) as exempt and is(are) subject to the legal limitations of that exemption.
                              Confirmation is without prejudice to the Trustee seeking, but not requiring, further
                              modification of the Chapter 13 Plan upon realization of the value of such property.

                         c.) In order to comply with 11 U.S.C. § 1325(a)(4); the debtors shall pay the allowed
                               unsecured claims in full and together with 3% interest.




            Dated: October 8, 2014                     ___________________________________________
                                                               United States Bankruptcy Judge


            Prepared By:/s/Christopher Micale
                             (Trustee)

            Seen and Agreed:/s/ Malissa L. Giles ,with permission_________________
                                 Giles & Lambert, P.C., Counsel for Debtor(s)
